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                          IN THE UNITED STATES BANKRUPTCY COURT
                       IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION


           In re:                                                                   Case No. 18-20420-RAM
                                                                                    Chapter 7

           STONES USA OF FLORIDA, INC.,

     Debtor.
_______________________________________/


    TRUSTEE’S RENEWED NOTICE OF TAKING DEBTOR’S EXAMINATION (DUCES TECUM)
                           PURSUANT TO FRBP 2004


           NOTICE IS HEREBY GIVEN that Barry E. Mukamal, the duly appointed and acting
Chapter 7 Trustee herein, by and through his undersigned counsel, and pursuant to Federal
Rule of Bankruptcy Procedure 2004, will conduct an examination of:

           EXAMINEE:          Stone USA of Florida, Inc.1
                              (Person Most Knowledgeable)

           PLACE:             James B. Miller, P. A.a


                              19 West Flagler Street, Suite 416
                              Miami, FL 33130

           DATE:              June 29th, 2020 at 10:00 A.M.

           This examination will be performed by video conference. The examinee will be provided
with instructions on how to appear by video conference in advance. Creditors or interested parties
who plan to attend must contact the undersigned attorney no later than three (3) business days
prior to the scheduled examination date, so that proper arrangements can be made for such
remote video appearance. This examination may continue from day to day until completed. The
examination is pursuant to FRBP 2004 and applicable Local Rule and will be taken before an
officer authorized to record the testimony. The scope of the examination shall be as described in
FBRP 2004

1
    Examinee shall provide and fund translator if necessary.
a
    Please note this will be a video examination. Do not appear at this location.
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      The Examinee is further requested to produce on or before June 26th, 2020, prior to the
examination, all of the documents described on the attached Schedule “A”.

                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of this Notice has been served via
ECF Service this 11th day of June 2020, upon: Robert Sanchez, Esq.; Barry E. Mukamal,
Chapter 7 Trustee; AUST.


                                 CERTIFICATE OF ADMISSION


       I HEREBY CERTIFY that I am admitted to the Bar for the District Court in and for the
Southern District of Florida, and am duly-qualified to practice before this Court as set forth in
Local Rule 2090-1(A).
       Respectfully submitted this 11th day of June 2020.

                                                      Trustee’s Counsel
                                                      19 West Flagler Street, Suite 416
                                                      Miami, FL 33130
                                                      Tel. No. (305) 374-0200
                                                      Fax. No. (305) 374-0250
                                                      jbm@title11law.com

                                                      _________/s/_________
                                                      JAMES B. MILLER, ESQ.
                                                      Florida Bar No. 0009164




cc:    Ouellette & Mauldin Court Reporters, Inc.




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                                     EXHIBIT “A”

I. DEFINITIONS

     A.    the term “Representative” shall mean any and all agents, employees, servants,
           officers, directors, attorneys, or other persons acting or purporting to act on behalf
           of the persons in question (the “Debtor” in this bankruptcy proceeding)

     B.    The term “Person(s)” shall mean the plural as well as the singular and shall include
           any natural person, corporation, partnership, joint venture, association, government
           agency, and every other form of entity cognizable at law.

     C.    The terms “You” and “Your” refer to the Debtor, jointly and individually as the
           case may apply to bring into the gambit the maximum amount of information and/or
           documents requested).

     D.    The term “Document” shall mean the original and any copy whether different from
           the original by reason of any notation made on such copies or otherwise, regardless
           of the origin or location, of any written, recorded, transcribed, punched, taped, films
           or graphic matter, however produced or reproduced, including, but not limited to,
           any correspondence, notes, logs, journals, reports, letter, memoranda, notes, diaries,
           statistics, minutes, contracts, studies, checks, statements, receipts, returns,
           summaries, pamphlets, prospectuses, interoffice and intraoffice telephone calls,
           meetings or other communications, bulletins, printed matter, computer printouts,
           teletypes, telecopies, telefax, invoices, worksheets (and all drafts, alterations,
           modifications or changes to any of the foregoing); graphic and oral record or
           representations of any kind, including without limitation, photographs, charts,
           graphs, diagrams, illustrations, drawings, microfiche, microfilm, video tape
           recordings, motion pictures, electronic, mechanical or electrical records or
           representations of any kind, including without limitation, tapes, cassettes, discs and
           recordings.

     E.    The term “All Documents” shall mean any document as above defined known to
           you and every such document which can be located or discovered by reasonably
           diligent efforts.

     F.    The term “Communication” shall mean any oral or written utterance, notation or
           statement of any nature whatsoever, by and to whosoever made, including, but not
           limited to, correspondence, conversations, dialogues, discussions, interviews,
           conferences, meetings, consultations, agreements and the understandings between
           or among two or more people.

     G.    The terms “Identification,” “Identify,” and/or “Identity,” when used is reference
           to (a) a natural individual, require you to state his or her full name and residential
           and business addresses: (b) a corporation, require you to state its full corporate
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     name and any names under which it does business, its state of incorporation, the
     address of its principal place of businesses, and the addresses of all of its offices in
     the State of Florida; (c) a business, require you to state the full name or style under
     which the business is conducted, its business address or addresses, the types of
     businesses in which it is engaged, the geographic areas in which it conducts those
     business, and the identity of the person or persons who own, operate, and control
     the business; (d) a document, require you to state the number of pages and the nature
     of the document (e.g., letter or memorandum), its title, its date, the name or names
     of its authors and recipients, and its present location and custodian; (e) a
     communication, require you, if any part of the communication was written, to
     identify the document or documents which refer to or evidence the communication,
     and, to the extent that the communication was non-written, to identify the persons
     participating in the communication and to state the date, manner, place and
     substance of the communication.

H.   The term “Describe in Detail” shall mean to recite the information in your
     possession for each separate and distinct act, instance, occurrence, or
     communication, including the date, location and identity of each and every person
     present or involved, and the identity of each and every communication and each
     and every document which related to the act, instance, occurrence or
     communication.

I.   The term “Referring to” or “Relating to” means in any way directly or indirectly,
     concerning, referring to, disclosing, describing, confirming, supporting, evidencing
     or representing.

J.   The term “And” and “Or”, as used herein, are both conjunctive and disjunctive.

K.   All singular words include the plural, and all plural words include the singular.

L.   All works in the present tense include the past, and all works in the past tense
     include the present.

M.   Each paragraph herein shall be construed independently and not by reference to any
     other paragraph for the purpose of limitation.

N.   You are required to produce all documents requested by the request for production
     which are in your custody or subject to your control, and to use reasonable diligence
     to locate and produce such documents. If any documents cannot be located or no
     longer exists, you are requested to provide an explanation and to identify the last
     known location and custodian of the document. If you contend that you are entitled
     to withhold from review any or all documents identified herein on the basis of any
     privilege, then do the following with respect to each and every document so
     withheld: (a) describe the nature of the document (e.g., letter or memorandum); (b)
     state the date of the document; (c) identify the persons who sent and received the
     original and a copy of the document; (d) state the subject matter of the document;
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      and (e) state the basis upon which you contend you are entitled to withhold the
      document from production.

O.    Unless otherwise instructed, the relevant time period for all responsive documents
      shall be four year prior to and through the date of filing the bankruptcy petition to
      the present.

P.    The terms “Debtor,” “Stones USA of Florida, Inc.” “You” and/or “Yours”
      refers to the Debtors in this bankruptcy proceeding, jointly and severally, together
      with any and all, present and former agents, employees, representatives, servants,
      attorneys or other persons acting or purporting to act on behalf of Debtors.

Q.    The term “Trustee”, refers to the Bankruptcy Trustee in Case No. 18-20420-
      RAM, together with any and all, present and former agents, employees, servants,
      attorneys, or other persons acting or purporting to act on behalf of Trustee.


                             II.      CONTINUING REQUEST

This is a continuing request for the production of documents. At such time as you
become aware of the existence of any additional documents responsive to this
Request, you are hereby requested to produce such documents.

1.    Any and all documents which Debtor relied upon and/or referred to in preparing
      bankruptcy petition and schedules.

2.    Front and back copies of any and all driver’s licenses issued to Debtor by the
      State of Florida, and any other State, during the relevant time period.

3.    Copies of any and all motor vehicle titles issued to Debtor by the State of Florida
      and any other State.

4.    All documents evidencing any and all property (real and personal) that Debtor
      may have or had an ownership interest in outside of the United States 2 (two)
      Years prior to Petition date.

5.    Any and all documents including but not limited to: closing statement(s), deeds,
      mortgages, financing documents, and evidence of mortgage payment, relating to
      or reflecting your interest in, residence at, and/or occupation of real property
      located in Miami-Dade County, FL or anywhere else in the past five (5) years; as
      well all similar documents reflecting the residence, occupation or interest in said
      real property by any third person during the relevant time period.

6.    All documents, including but not limited to the closing statement(s) and affidavits,
      for or relating to the sale or transfer of any and all real property interests within
      the past 5 years.

7.     Copies of any and all real estate mortgage or financing documents with respect

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      to any and all real property in your possession, custody or control during the
      relevant time period.

8.    Any and all rental agreement(s) any funds received and disposition of receipt.

9.    Any and all documents relating to any and all mortgages, loans, proceeds
      therefore, for any and all interest debtor jointly or separate for the past 4 (four)
      years. Also, monies borrowed against Debtor’s real estate of any nature and
      paid or otherwise transferred to another within the four (4) year period prior to the
      filing of your bankruptcy petition through and including the date of response to
      this request.

10.   Any and all income tax returns (foreign and/or domestic) filed and/or prepared by
      Debtor or on Debtor’s behalf for the past 3 (three) years.

11.   All business records and documents relating to any and all business
      entities, and its assets and debts for the four year period prior to the filing
      of Debtor’s petition, through the date of the response to this request for
      documents.

12.   Any all company computer and passwords, along with any software
      programs (ie. Quick books).

13.   Any and all documents relating to all accounts receivables due.
14.   The Original of all Certificates of stock owned or beneficially held by Debtor
      either own alone or Jointly with any other person(s) for any corporation or
      corporations, artificial entities, or other like institutions, for the four year period
      prior to the filing of Debtor’s petition, through the date of the response to this
      request for documents.

15.    All insurance policies insuring loss to any life or property, real or personal, that
      you own alone or jointly with any other person, or for which you are or have been
      a beneficiary for the time period of which you are or have been a beneficiary for
      the four year period prior to the filing of Debtor’s petition, through the date of the
      response to this request for documents.

16.    Any and all financial statements prepared by Debtor or on Debtor’s behalf within
      the relevant time period.

17.   Copies of any and all (foreign and/or domestic) financial documents, front
      and back copies of cancelled checks, share drafts, bank statements,
      financial institution statements and account information relating to any and
      all financial accounts which Debtor is/was a signator or beneficiary. Also
      any financial account which Debtor has deposited monies into or
      withdrawn or transferred monies out of, whether or not Debtor’s name
      appears as a owner or holder, during the relevant time period.

18.   Any and all documents evidencing payments made by you to another person or
      entity (in excess of $5,000 in aggregate) paid to prior to petition date.


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       19.    All professional licenses Debtor holds.

       20.     All documents that evidence, refer of relate to involvement in any employment
               agreements, deals, sales, and/or pending monies Debtor may have or had with
               any other party 4 (four) years prior to petition date.


                            III     DESTROYED DOCUMENTS

        If any document responsive to this Request was at one time in existence, but has been lost
or destroyed, a list should be provided of the document(s) so lost or destroyed stating the
following information for each such document: (a) the type of document; (b) the date on which it
ceased to exist; (c) the circumstances of its loss or destruction, (d) the identity of all persons
having knowledge of the reasons for its loss or destruction, and (e) the identity of all persons
having knowledge of its contents.




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